          --.;,::~Y
              i.=:., ,
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                                                                                                                     Incident Review Re?ort
                                                                                                                         FCC Beaumont - VSP
                                                                                                                              June ::.3, 2 Dl4
                                                                                                                               ?age 9 of 10


                                         Inmate -           "Your D~o-cher made a deal with ::is people.        With
                                         t!!e SAC (S:::ldiers of Arya!! Cul~ure ) g-~-y"s, t.hat. he wasn' ~ s-oing to
                                         be using drugs anymore a:::id that he was:::':: 3"oing to be drinking
                                         a:::iymore.  ~.nd no one deserves what happened tc him bro, nobody
                                         dese:.-ve.s tha ~.  ~d I di±' t. see it coming at. a:~ , ~~the did..~'t.
                                         hold up his end of t.:le deal rr::a..n. .Z>.nd those dudes are serio~s
                                         ma!: . "

                                                                   n ! know, I know . P.nd he though~                          ~his was goi~~ to
                                                                  happen a year ago."

                                         :i:nmate-        "He kept fucking -.;p, he l:ep t doing t:ie shit bro.
                                                          And he don·~ dese:rve !:ha-: shit at all b~t. ,"

                                                                   "Your rig!':.t t.hough,            tt".:ese people aren't kids thei=-
                                                                  no:. };:layi:1g- a!:'"ct:.nd .       :ie knew wha:. he ·.-.,as getting
                                                                  irj·1.rolved with,     you       k._"Tl.ow . "

                                                          u?..nd De=ore he went on ~hat WRIT, he st.ale some
                                         Inmate -
                                                          shit from his cellie.    ~e stole some shit from his
                                                          cellie, who was anot.~er merriber of s .;c."
                                                                                                  .
                                                                  \\Yeah . "


                                         Inmate-          '
                                                              1
                                                                  And t.hey gave ~im a pass on ::..t ,                      which is \J...--:heard
                                                          of dude.               It's -~nheard of .                3u=     ~he y beat ~.irr:."

                                                                  "That 's      what happe:r~ed.            Ee got       a -.,_Ti clat. i on   that
                                                                  t.ime?       Ck."


                                         Inmate-         "And traen , the dea::. was they we' re going to whoop
                                                         his ass.    He was going to be discipline you for it..
                                                         And ye-~ don ' t get high no more, you don't drink ,
                                                         yo-.; don't do any 0£ t!lat shi:: ;:ha':. led you to steal
                                                         tha::          shit frorr. your b.:-•::::>the~."

                                                                  \'Yeah."

                                         Inmate-         ".?,...Tl.d    ;-_,e did it ma::. ,       he kept cio.:..ng it."




               DEFENDANT'S
                 EXHIBIT

            CASE            - () I
            NO.  \ -_Il.t. (;fl.o'--lf
           EXHIBIT
           NO.                                                                        00996
